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                  IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF TEXAS
                           MARSHALL DIVISION


NETLIST, INC.                        §
                                     §         CASE NO. 2:22-cv-00293-JRG
v.                                   §                 (Lead Case)
                                     §
SAMSUNG ELECTRONICS CO., LTD.,       §
et al                                §


NETLIST, INC.                        §
                                     §         CASE NO. 2:22-cv-00294-JRG
v.                                   §                (Member Case)
                                     §
MICRON TECHNOLOGY, INC.,             §
et al                                §



                     MINUTES FOR MARKMAN HEARING
             HELD BEFORE U. S. DISTRICT JUDGE RODNEY GILSTRAP
                               September 26, 2023

OPEN: 01:30 PM                                                      ADJOURN: 04:17 PM


ATTORNEYS FOR PLAINTIFF:                             See attached

ATTORNEYS FOR DEFENDANTS:                            See attached

TECHNICAL ADVISOR:                                   Michael Paul

LAW CLERK:                                           Dylan Freeman

COURT REPORTER:                                      Shawn McRoberts, RMR, CRR

COURTROOM DEPUTY:                                    Andrea Brunson, CP

   TIME                                   MINUTE ENTRY
 01:30 PM   Court opened.
 01:31 PM   Court called for announcements from counsel.
 01:33 PM   Court began hearing claim construction arguments on a claim-by-claim basis.
                Presented argument on behalf of Plaintiff: Mr. Sheasby.
                Presented argument on behalf of Defendants: Mr. McKeon, Mr. Dryer, Dr.
                   Albert, Mr. Rueckheim and Mr. Livedalen.


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   TIME                                     MINUTE ENTRY
 03:30 PM   Off the record.
 03:30 PM   On the record.
 03:30 PM   Continuation of arguments.
 04:16 PM   Arguments concluded.
 04:16 PM   Court to take claim construction under submission.
 04:17 PM   Court adjourned.




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